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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                             8:12-CR-418

vs.
                                                     REVISED
CHRISTOPHER BATES,                              TENTATIVE FINDINGS

                 Defendant.


      The Court has received the revised presentence investigation report
(PSR) in this case. Bates has objected to the PSR (filing 143) and moved for a
downward departure and variance (filing 141). The Court issued its tentative
findings on July 3, 2014. Filing 151. After further consideration, the Court
issues the following, revised tentative findings.

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005), and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines respectful consideration within the
            context of each individual case and will filter the Guidelines'
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or "substantial" weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;
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     (e)   depart from the advisory Guidelines, if appropriate, using pre-
           Booker departure theory; and

     (f)   in cases where a departure using pre-Booker departure theory is
           not warranted, deviate or vary from the Guidelines when there is
           a principled reason justifying a sentence different than that
           called for by application of the advisory Guidelines, again without
           affording the Guidelines any particular or "substantial" weight.

2.   Bates has objected to several aspects of the PSR, and moved for a
     downward departure and variance. The Court begins with Bates'
     objections. Filing 143. Bates objects to paragraphs 32, 33, and 81 of the
     PSR on varying grounds. None of these objections affect his advisory
     sentencing Guidelines range, and the Court will resolve these
     objections at sentencing. Bates also asks that the PSR be amended to
     include corrected information regarding his family history. The Court
     has received and will consider the materials Bates has submitted. See
     filing 143 at 1–2; filing 144.

     Bates has moved for a downward departure and variance on several
     grounds. Filing 141. He first argues that his Criminal History Category
     (III) overstates the seriousness of his criminal record, and that a
     downward departure under U.S.S.G. § 4A1.3 is warranted. The Court
     will resolve this aspect of Bates' motion at sentencing.

     Bates next argues that a downward departure or variance is warranted
     based upon the nature of his arrest and conviction, which was the
     result of a reverse sting operation, in which an undercover agent and
     confidential informant worked with Bates and his codefendants to plan
     the armed robbery of a fictitious drug stash house. Bates claims that
     this amounted to outrageous government conduct, and that a
     downward departure or variance is therefore warranted. See, e.g.,
     United States v. Williams, 720 F.3d 674, 685 (8th Cir. 2013). Finally,
     Bates attacks the drug quantity attributed to him for sentencing
     purposes. This amount was based upon the purported amount of drugs
     that Bates was led to believe would be stolen from the stash house: four
     pounds of methamphetamine and four kilograms of cocaine. Filing 117
     at 3. Bates argues that the quantity was inflated by government agents
     to ensure that he would receive a higher penalty, and that this
     amounted to sentencing entrapment. See United States v. Searcy, 233
     F.3d 1096, 1098–99 (8th Cir. 2000). He asks that the Court instead hold


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       him responsible (for purposes of his Guidelines sentencing range) for
       less than 5 grams of cocaine and less than 2.5 grams of
       methamphetamine (the lowest amounts possible under U.S.S.G. §
       2D1.1). The Court will resolve these aspects of Bates' motion for
       departure and variance at sentencing. However, some further
       observations are in order.

       In its previous tentative findings (filing 151), the Court noted that
       Bates' sentencing entrapment and outrageous government conduct
       arguments were largely academic, due to the presence of the
       mandatory minimum sentence of 10 years' imprisonment that applies
       to Bates' violation of 21 U.S.C. §§ 841 and 846. As it stands, the
       Guidelines range for that offense is 120 to 135 months.1 So, the Court
       previously noted, 120 months was the minimum possible Guidelines
       sentence, and no further downward adjustments were possible.
       U.S.S.G. § 5G1.1(b). That is because, with two exceptions not present
       here—safety valve relief or a substantial assistance motion from the
       government—the Court lacks the authority to sentence below the
       statutory minimum. See, 18 U.S.C. § 3553(e) and (f); United States v.
       DeCoteau, 630 F.3d 1091, 1098 (8th Cir. 2011). Or so the Court
       believed. However, upon further consideration, it appears that there
       may be a third exception to this rule.2 Thus, a sentence below the
       mandatory minimum is at least theoretically possible. To explain why,
       it will help to review the doctrines of sentencing entrapment and
       outrageous government conduct in greater detail.

       Sentencing entrapment often arises in the context of drug transaction
       crimes. In drug cases, the drug quantity involved acts as a primary

1 This includes the benefit of the 2-level downward variance based upon the proposed
amendments to the drug quantity tables. PSR at 21–22. Bates also faces a mandatory
consecutive term of 5 years' imprisonment for his possession of a firearm during a drug
trafficking crime. 18 U.S.C. § 924(c)(1)(A)(i). Bates has not raised his sentencing
entrapment argument with respect to that offense.
2 The belated nature of this realization is due in part to Bates' sentencing brief, which does

not explicitly request a sentence below the statutory minimum. Instead, Bates has
requested a downward departure or variance, and has requested that the Court adjust the
drug quantity "for purposes of this court['s] findings for the sentencing guidelines." See
filing 141 at 9. The contours of Bates' argument notwithstanding, the Court has an
independent duty to both ascertain the correct advisory range under the Guidelines, and to
determine whether the Court has the authority to impose a sentence below the mandatory
minimum.


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     determinate of a defendant's sentence under the Guidelines. United
     States v. Ruiz, 446 F.3d 762, 773 (8th Cir. 2006). And, of course,
     mandatory minimums set by statute are also tied to drug quantity.
     Thus, relatively small differences in the quantity or kind of drugs
     involved in an offense may dramatically alter a defendant's prison
     term. Id. In a case involving the purchase or sale of drugs, sentencing
     entrapment occurs when official government conduct leads a defendant
     predisposed to deal only in small quantities of drugs to deal in larger
     quantities, leading to an increased sentence. Id. at 773–74. If a
     defendant establishes sentencing entrapment, the Court will exclude
     from the offense level determination the amount of drugs that the
     defendant establishes that he did not intend to provide or purchase, or
     was not reasonably capable of providing or purchasing. Id. And
     although the predisposition of the defendant to commit the crime
     represents the major focus of the analysis, the government's conduct
     acts as a triggering mechanism, i.e., the defendant must prove that the
     government induced the defendant to commit the crime. Id.

     The Eighth Circuit has not yet considered sentencing entrapment in
     the context of a fictional drug stash house robbery. But the Ninth
     Circuit has, and has set forth the following test. In such cases, the
     defendant can show sentencing entrapment by demonstrating that he
     lacked the predisposition—either through a lack of intent or a lack of
     capability—to conspire with others to take by force the amount of drugs
     charged. United States v. Black, 733 F.3d 294, 311 (9th Cir. 2013). At
     sentencing, the Court will use this test to assess the merits of Bates'
     argument.

     That said, the Court is having difficulty conceiving of a fake stash
     house scenario in which this standard—and sentencing entrapment
     more generally—will be satisfied. Sentencing entrapment makes sense
     in the context of drug sales, because a defendant can readily show,
     based on his history of prior dealings, that he would not be inclined to
     deal in the amount at issue. But in the context of fictitious stash
     houses, where the defendant is told, at the outset, of the quantity of
     drugs involved in the (fictitious) heist, the defendant either agrees to
     perform the heist or not. And if the defendant only agrees to the heist
     on the basis of government inducement, then it is actual entrapment
     that has been demonstrated, not simply sentencing entrapment.




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       If Bates' argument has merit, the Court must determine whether it will
       have any practical effect on Bates' sentence, in light of the 10-year
       mandatory minimum. The Eighth Circuit has only considered
       sentencing entrapment within the context of a defendant's sentence
       under the Guidelines. See, e.g., Ruiz, 446 F.3d at 773–74. In other
       words, the Eighth Circuit has not determined whether a finding of
       sentencing entrapment would allow a court to sentence below statutory
       minimum. But other circuits have considered this question and have
       responded in the affirmative. See United States v. Biao Huang, 687
       F.3d 1197, 1203 (9th Cir. 2012); see also, United States v. Kenney, ___
       F.3d ___, 2014 WL 2872214, at *11 (1st Cir. June 25, 2014); United
       States v. Ciszkowski, 492 F.3d 1264, 1270 (11th Cir. 2007). The First
       Circuit has reasoned that, just as there is no statute enacting the
       defenses of entrapment, duress, or necessity, federal courts have
       created them as "supplementary doctrines." Kenney, 2014 WL 2872214,
       at *11. These circuits hold that, upon a finding of sentencing
       entrapment, the district court has the authority to "subtract the
       amount of drugs tainted by the entrapment and use the minimum
       sentence, and sentencing range, that pertain to the modified drug
       quantity."3 Biao Huang, 687 F.3d at 1203. For sake of argument, the
       Court will assume that the Eighth Circuit would also recognize this
       authority.

       That brings the Court to Bates' argument regarding outrageous
       government conduct. The defense of outrageous government conduct
       rests on the Due Process Clause of the Fifth Amendment. Williams, 720
       F.3d at 685. This defense is similar to, although different from, the
       defense of entrapment. Id. Whereas the defense of entrapment focuses
       on the predisposition of the defendant to commit the crime, the defense
       of outrageous government conduct focuses on the government's actions.
       Id. at 686. The level of outrageousness needed to prove a due process
       violation is quite high, and the government's conduct must shock the
       conscience of the Court, and fall within a narrow band of the most
       intolerable government conduct. Id.




3 Or, as the Eleventh Circuit explained regarding the related doctrine of sentencing
manipulation, "[W]hen a court filters the manipulation out of the sentencing calculus before
applying a sentencing provision, no mandatory minimum would arise in the first place."
Ciszkowski, 492 F.3d at 1270.


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     Normally, outrageous government conduct is asserted as a complete
     defense and is grounds for dismissing the indictment. See United States
     v. Nguyen, 250 F.3d 643, 646 (8th Cir. 2001). Bates, however, has
     raised the doctrine not as a defense, but within the context of
     sentencing, as grounds for a downward variance or departure. The
     Court will assume, for the time being, that this is an appropriate use of
     the doctrine. On the one hand, it stands to reason that if the doctrine
     can be used to entirely dismiss a case, it may support the lesser remedy
     of a sentence reduction. On the other hand, to have separate viability in
     the context of sentencing, Bates must point to some connection between
     the government's alleged outrageous conduct and his sentence, not
     merely his conviction. The Court will further assume, for the sake of
     argument, that as with a claim of sentencing entrapment, a successful
     claim of outrageous government conduct would allow the Court to
     sentence below the statutory minimum. Cf. Ciszkowski, 492 F.3d at
     1270.

     One final matter bears noting. In its previous tentative findings, the
     Court observed that Bates had stipulated in his plea agreement that he
     would recommend a base offense level of 34, based upon the quantity of
     methamphetamine and cocaine supposed to have been in the fictitious
     stash house. Filing 117 at 6. The Court was implying that Bates'
     arguments were foreclosed, or at least undercut, by this stipulation.
     However, upon further examination, the Court tentatively finds that
     Bates' arguments regarding sentencing entrapment and outrageous
     government conduct are not necessarily foreclosed by his plea
     agreement.

     First, a plea of guilty does not necessarily waive a claim of sentencing
     entrapment. See United States v. Searcy, 233 F.3d 1096, 1098 n.1 (8th
     Cir. 2000); see also, United States v. Aguilar-Huerta, 576 F.3d 365, 368
     (7th Cir. 2009); United States v. Connell, 960 F.2d 191, 197 n.9 (1st Cir.
     1992). Second, Bates' plea agreement left him the option to pursue any
     "additional downward adjustments, departures, . . . and sentence
     reductions under 18 U.S.C. § 3553." Filing 117 at 7. This left him the
     option to pursue a motion for departure or variance on any grounds not
     specifically waived in another portion of his plea agreement. So, Bates
     may pursue his motion for variance or departure for both sentencing
     entrapment and outrageous government conduct.




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     Nor are Bates' arguments inconsistent with his agreement to
     recommend a base offense level of 34. That recommendation is tied to
     the amount of drugs supposed to have been in the fictitious stash
     house. Bates does not dispute that that is the amount the government
     selected for its reverse sting operation, and the amount that he
     conspired to steal. Rather, his arguments seek to show that this drug
     quantity resulted from illegitimate government inducement or
     outrageous government conduct.

     That said, Bates' plea agreement does significantly narrow the
     arguments available to him. While his plea did not waive the right to
     bring a sentencing entrapment claim, it did waive his right to raise all
     non-jurisdictional defects and defenses, including the defense of
     entrapment. Searcy, 233 F.3d 1098 at n1. Thus, as noted above, his
     claim of sentencing entrapment must do more than show he was
     entrapped into conspiring to commit the stash-house robbery or possess
     a firearm—that ship has sailed. Instead, he must show that
     government inducement lead, in some manner, to an increased
     sentence. Similarly, by pleading guilty, Bates waived his right to assert
     outrageous government conduct as a defense to a conviction for the
     crime. See, id.; Peoples v. United States, 412 F.2d 5, 7 (8th Cir. 1969).
     To succeed at this juncture, Bates must show that outrageous
     government conduct somehow resulted in an increased sentence.

     In sum, the Court tentatively finds that, if meritorious, Bates' claims of
     sentencing entrapment and outrageous government conduct might
     allow the Court to sentence below the statutory minimum. The Court
     further finds that Bates' plea agreement presents no bar to pursuing
     these arguments, the merits of which will be determined at sentencing.

3.   Except to the extent, if any, that the Court has sustained an objection,
     granted a motion, or reserved an issue for later resolution in the
     preceding paragraph, the parties are notified that the Court's tentative
     findings are that the presentence report is correct in all respects.

4.   If any party wishes to challenge these tentative findings, that party
     shall, as soon as possible (but in any event no later than three (3)
     business days before sentencing) file with the Court and serve upon
     opposing counsel an objection challenging these tentative findings,
     supported by a brief as to the law and such evidentiary materials as are
     required, giving due regard to the local rules of practice governing the


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     submission of evidentiary materials. If an evidentiary hearing is
     requested, such filings should include a statement describing why a
     hearing is necessary and how long such a hearing would take.

5.   Absent timely submission of the information required by the preceding
     paragraph, the Court's tentative findings may become final and the
     presentence report may be relied upon by the Court without more.

6.   Unless otherwise ordered, any objection challenging these tentative
     findings shall be resolved at sentencing.

     Dated this 9th day of July, 2014.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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